Case 2:18-cv-02101-PKH Document 53          Filed 07/03/19 Page 1 of 1 PageID #: 1641



                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION

BRIAN HERZIG and NEAL MARTIN                                                 PLAINTIFFS

v.                               No. 2:18-CV-02101

ARKANSAS FOUNDATION FOR
MEDICAL CARE, INC.                                                          DEFENDANT

                                     JUDGMENT

     Pursuant to the order entered in this case on this date, this matter is DISMISSED WITH

PREJUDICE.

     IT IS SO ADJUDGED this 3rd day of July, 2019.


                                                       /s/P. K. Holmes, 
                                                       P.K. HOLMES, III
                                                       U.S. DISTRICT JUDGE
